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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  JILL BABCOCK, et al.,

        Plaintiffs,                           Civil Action No. 22-cv-12951

  v.                                          HON. JONATHAN J.C. GREY

  MICHIGAN, STATE OF, et al.,

       Defendants.
  _________________________________/

                      PLAINTIFFS’ INITIAL DISCLOSURES


        Pursuant to Fed. R. Civ. P. 26(a)(1), Plaintiffs, by their counsel, make the

  following initial disclosures. Plaintiffs reserve the right to supplement or amend

  these disclosures as appropriate as discovery and investigation proceed. Expert

  witnesses will be disclosed in accordance with the Court’s Case Management and

  Scheduling Orders (ECF No. 54 and ECR No. 113).

                         I.    PLAINTIFFS’ WITNESSES

           a. MARGUERITE MADDOX
              c/o Plaintiffs’ Counsel

               Marguerite Maddox may testify regarding all the allegations in

               Plaintiffs’ amended complaints and continued discrimination she has

               experienced from Defendants subsequent to the events described in the

               pleadings, including but not limited to City Council meetings

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              conducted virtually or in the Auditorium or Meeting Rooms on the 13 th

              Floor of the CAYMC, the Rosa Parks Transit Center, her polling

              location in the City of Detroit Ladder Company Number 7, Engine

              Company Number 17 Fire Station, the alternate polling location for

              persons with disabilities on West Grand Boulevard, the Frank Murphy

              Hall of Justice, the People Mover route to and from the Skyway from

              the Millender Center to the Coleman A. Young Municipal Center

              (“CAYMC”), and in and adjacent to the CAYMC. She may testify

              regarding the ADA, ANSI, and Access Board requirements and

              guidelines under Title II and the PWDCRA for effective

              communication for hearing and speech impairments, including

              auxiliary aids and services. She may testify regarding discrimination

              she and her service dog Scarlett have experienced due to her disability,

              and discrimination she has observed due to others’ disability. She may

              testify regarding various advocacy attempts by her and others to get the

              Defendants to make their premises accessible for persons with

              disabilities. She may testify regarding her own damages resulting from

              Defendants’ actions and inaction. She may also testify in connection

              with facts supporting class action representation and certification, and




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              regarding damages as to potential class members resulting from

              Defendants’ actions and inaction.


           b. JILL BABCOCK
              c/o Plaintiffs’ Counsel

              Attorney Jill Babcock may testify regarding all the allegations in

              Plaintiffs’ complaint and amended complaints and continued

              discrimination she has experienced from Defendants subsequent to the

              events described in the pleadings including but not limited to the

              locations described in the pleadings. She may testify regarding the

              Access Board Courthouse Access Advisory Committee (Designing

              Accessible Courthouses), the U.S. Courts Design Guide, and National

              Center for State Courts Courthouse Guide to Planning and Design

              Needs of Persons with Disabilities. She may testify regarding

              discrimination she has experienced due to her disability and

              discrimination she has observed due to others’ disability. She may

              testify about Defendants’ past actions, inaction, and routine practices

              as to accessibility, including as may be described in prior lawsuits in

              which she has been a party. She may also testify regarding various

              advocacy attempts by her and others to get the Defendants to make their

              premises accessible for persons with disabilities. She may testify


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              regarding her damages as to her health and her professional and career

              advancement resulting from Defendants’ actions and inaction. She may

              also testify in connection with facts supporting class action

              representation and certification, and regarding damages as to potential

              class members resulting from Defendants’ actions and inaction.


           c. ASHLEY JACOBSON
              c/o Plaintiffs’ Counsel

              Attorney Ashley Jacobson may testify regarding all the allegations in

              Plaintiffs’ complaint and amended complaints and continued

              discrimination she has experienced from Defendants subsequent to the

              events described in the pleadings, including but not limited to

              deposition in the City Law Department offices in the CAYMC and

              cases in the CAYMC, and the Courthouses located in Washtenaw and

              Livingston County. She may testify regarding the Access Board

              Courthouse Access Advisory Committee (Designing Accessible

              Courthouses), the U.S. Courts Design Guide, and National Center for

              State Courts Courthouse Guide to Planning and Design Needs of

              Persons with Disabilities. She may testify regarding discrimination she

              has experienced due to her disability, discrimination her clients have

              experienced due to her disability or their own disability, and other


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              discrimination she has observed due to others’ disability. She may also

              testify regarding various advocacy attempts by her and others to get the

              Defendants to make their premises accessible for persons with

              disabilities. She may testify regarding her personal damages and

              damages to her business operations and her professional advancement

              resulting from Defendant’s actions and inaction. She may also testify

              in connection with facts supporting class action representation and

              certification, and she may also testify regarding damages including as

              to potential class members, whether as lay persons with disabilities or

              as attorneys with disabilities, resulting from Defendants’ actions and

              inaction.


           d. GREGORY R. McDUFFEE
              c/o Defendants’ Counsel

              Gregory R. McDuffee may testify regarding all the allegations in

              Plaintiffs’ complaint and amended complaints and subsequent events.

              He may testify about the history, alterations, and status of the Coleman

              A. Young Municipal Center (“CAYMC”), the Skywalk, the building,

              plumbing, and accessibility codes, regulations, and best practices with

              which the Center and its owners, managers, and lessees must comply,

              before, during, and following his executive tenure at the Defendant


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              Detroit Wayne Joint Building Authority (“DWJBA”). He may testify

              about lease violations by the City, County, and other tenants of

              CAYMC as to accessibility requirements under the lease(s) and other

              agreements between DWJBA and its tenants. He may testify about the

              relationships and agreements between and among the State of

              Michigan, its Courts located in the CAYMC, the City of Detroit, the

              County of Wayne, Hines, the Detroit Transit Company, other

              contractors, agents, or vendors, and the DWJBA, including the history

              and status of compliance and non-compliance by such entities with the

              accessibility laws at issue in this case in the CAYMC and Skywalk.



           e. Current Executive Director of the DWJBA and former and current
              members and officers or directors of the DWJBA
              c/o Defendants’ Counsel

              The current Executive Director and former and current members and

              officers or directors of the DWJBA may testify regarding all the

              allegations in Plaintiffs’ complaint and amended complaint. He or she

              may testify about the history, alterations, and status of the Coleman A.

              Young Municipal Center (“CAYMC”), the Skywalk, the building,

              plumbing, and accessibility codes, regulations, and best practices with

              which the Center and its owners, managers, and lessees must comply,


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              at the CAYMC and Skywalk. They may testify about lease violations

              by the City, County, and other tenants of CAYMC as to accessibility

              requirements under the lease(s) and other agreements between DWJBA

              and its tenants. They may testify about the relationships and agreements

              between and among the State of Michigan, its Courts located in the

              CAYMC, the City of Detroit, the County of Wayne, Hines, the Detroit

              Transit Company, other contractors, agents, or vendors, and the

              DWJBA, including the history and status of compliance and non-

              compliance by such entities with the accessibility laws at issue in this

              case in the CAYMC and Skywalk.

           f. MICHAEL “MIKE” KENNEDY, and other employees of Hines
              c/o Defendants’ Counsel

              Michael “Mike” Kennedy and other employees of Hines may testify

              regarding all the allegations in Plaintiffs’ complaint and amended

              complaints and subsequent events. They may testify about the history,

              alterations, and status of the Coleman A. Young Municipal Center

              (“CAYMC”), the Skywalk, the building, plumbing, and accessibility

              codes, regulations, and best practices with which the Center and its

              owners, managers, and lessees must comply, before and during Hines’

              tenure as managers at the CAYMC. They may testify about lease

              violations by the City, County, and other tenants of CAYMC as to

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              accessibility requirements under the lease(s) and other agreements

              between DWJBA and its tenants. They may testify about the

              relationships and agreements between and among the State of

              Michigan, the Courts located in the CAYMC, the City of Detroit, the

              County of Wayne, the Detroit Transit Company, their other contractors,

              agents, or vendors, the DWJBA, and Hines, including the history and

              status of compliance and non-compliance by such entities with the

              accessibility laws at issue in this case in the CAYMC and Skywalk.


           g. MICHAEL “MIKE” DUGGAN (Mayor), the Deputy Mayor(s),
              and other mayoral appointees in the Mayor’s office
              c/o Defendants’ Counsel

              These witnesses may testify regarding all the allegations in Plaintiffs’

              complaint and amended complaints and subsequent events. They may

              testify about the history, alterations, and status of the Coleman A.

              Young Municipal Center (“CAYMC”), the Skywalk, the route between

              the Millender Center People Mover Station to the Skywalk and

              CAYMC, Spirit Plaza including the Flag Pole, Frank Murphy Hall of

              Justice, Thirty Sixth District Court for the State of Michigan, the Rosa

              Parks Transit Center, Guardian Building, Penobscot Building, streets,

              sidewalks, pedestrian crossings, pedestrian crossing signals, pedestrian

              routes or rights of way, bus stops and stations, on-street parking, city-

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              owned or city-licensed parking lots and parking garages, licensing and

              franchise procedures for the parking lots adjacent to the parking lots

              servicing the Frank Murphy Hall of Justice and the Thirty Sixth District

              Court, other City and County facilities described in the Plaintiffs’

              complaint and amended complaints, the City of Detroit’s compliance

              and non-compliance with prior settlement agreements or court orders

              pertaining to accessibility issues with the United States Department of

              Justice, or with the Michigan Paralyzed Veterans Association, or with

              other court orders or court approved settlements pertaining to

              accessibility laws, and related activities in the City of Detroit and

              County of Wayne, and in non-party Detroit Medical Center, before,

              during, and following his tenures as either the Mayor of the City of

              Detroit, Deputy County Executive for the County of Wayne, Assistant

              Corporation Counsel for Wayne County, chief executive of non-party

              Detroit Medical Center, and interim general manager and vice-chair of

              board of non-party Southeastern Michigan Authority for Regional

              Transportation, including the history and status of the Defendants’

              compliance and non-compliance with the accessibility laws at issue in

              this case. They may also testify as to the relationships and agreements

              between and among the City of Detroit, State of Michigan, its Courts


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              located in the City of Detroit, the County of Wayne, the Detroit Transit

              Company, DWJBA, DDA, Hines, other contractors, agents, or vendors

              of these entities, including the history and status of compliance and

              non-compliance by such entities with the accessibility laws at issue in

              this case in the City of Detroit. They may testify about lease violations

              by the City, County, and other tenants of CAYMC as to accessibility

              requirements under the lease(s) and other agreements between DWJBA

              and its tenants. They may also testify as to the City’s budget and

              expenditures and related documents, including as relates to the issues

              in this case.

            h. WARREN EVANS (Wayne County Executive), the other
               appointees in the Executive’s office
               c/o Defendants’ Counsel

              These witnesses may testify regarding all the allegations in Plaintiffs’

              complaint and amended complaints and subsequent events. They may

              testify about the history, alterations, and status of the Coleman A.

              Young Municipal Center (“CAYMC”), the Skywalk, the route between

              the Millender Center People Mover Station to the Skywalk and

              CAYMC, Spirit Plaza including the Flag Pole, Frank Murphy Hall of

              Justice, Guardian Building, Penobscot Building, streets, sidewalks,

              pedestrian crossings, pedestrian crossing signals, pedestrian routes or


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              rights of way, bus stops and stations, on-street parking, city-owned or

              city-licensed parking lots and parking garages, licensing and franchise

              procedures for the parking lots adjacent to the parking lots servicing the

              Frank Murphy Hall of Justice, other County facilities described in the

              Plaintiffs’ complaint and amended complaints, the County’s

              compliance and non-compliance with prior settlement agreements or

              court orders pertaining to accessibility issues, and related activities in

              County of Wayne, including the history and status of the Defendants’

              compliance and non-compliance with the accessibility laws at issue in

              this case. They may also testify as to the relationships and agreements

              between and among the City of Detroit, State of Michigan, its Courts

              located in the City of Detroit, the County of Wayne, the Detroit Transit

              Company, DWJBA, DDA, Hines, other contractors, agents, or vendors

              of these entities, including the history and status of compliance and

              non-compliance by such entities with the accessibility laws at issue in

              this case in the County of Wayne. They may testify about lease

              violations by the City, County, and other tenants of CAYMC as to

              accessibility requirements under the lease(s) and other agreements

              between DWJBA and its tenants. They may also testify as to the




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              County’s budget and expenditures and related documents, including as

              relates to the issues in this case.

            i. CITY OF DETROIT Building Department, Engineering
               Department, Licensing and Permits Department, Parking
               Department, Transportation Department, Law Department:
               Directors and employees.
               c/o Defendants’ Counsel

              These Department Directors and personnel may testify regarding all the

              allegations in Plaintiffs’ complaint and amended complaints and

              subsequent events, including the history, alterations, maintenance, and

              status of the locations described above, the streets, sidewalks,

              pedestrian crossings, pedestrian crossing signals, pedestrian routes or

              rights of way, Rosa Parks Transit Center, the People Mover, the

              Skywalk, bus stops and stations, on-street parking procedures and rules,

              city-owned or city-licensed parking lots and parking garages, licensing

              agreements and permitting and franchise procedures for the parking lots

              adjacent to and servicing the Frank Murphy Hall of Justice and the

              Thirty Sixth District Court, the City of Detroit’s compliance and non-

              compliance with prior settlement agreements or court orders pertaining

              to accessibility issues with the United States Department of Justice, or

              with the Michigan Paralyzed Veterans Association, or with other court

              orders or court approved settlements pertaining to accessibility laws,


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              and related activities in the City of Detroit and County of Wayne. They

              may also testify as to the relationships and agreements between and

              among the these Departments, the City of Detroit, the State of

              Michigan, its Courts located in the City of Detroit, the County of

              Wayne, the Detroit Transit Company, DWJBA, Hines, other

              contractors, agents, or vendors of these entities, including the history

              and status of compliance and non-compliance by such entities with the

              accessibility laws at issue in this case in the City of Detroit. They may

              testify about building code and plumbing code violations by the City,

              County, and other tenants of CAYMC arising out of the failure to keep

              the toilet rooms on public floors open to the public at all hours when

              the building is open to the public, and arising out of the location of the

              gender toilet rooms on alternating floors of the CAYMC. They may

              testify about lease violations by the City, County, and other tenants of

              CAYMC as to accessibility requirements under the lease(s) and other

              agreements between DWJBA and its tenants. The Law Department may

              testify as to the accessibility of the portions of its offices in the CAYMC

              used by other attorneys not employed by the City.

            j. DETROIT TRANSIT COMPANY, Executive Officer and other
               employees
               500 Griswold St.,
               Suite 2900

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              Detroit, Michigan 48226

              These persons may testify regarding all the allegations in Plaintiffs’

              complaint and amended complaints, and subsequently, pertaining to the

              People Mover Station in the Millender Center and the pedestrian routes

              from that station to the Skyway and the CAYMC, and related

              easements, leases, deeds, insurance, maintenance, and other agreements

              with the Defendants as to that Station and the Skywalk, and

              Defendants’ compliance and non-compliance with the state and federal

              accessibility laws at issue at that location.



            k. DOWNTOWN DEVELOPMENT AUTHORITY, Director and
               other employees
               500 Griswold St., Ste. 2200 Detroit, MI 48226
               and c/o Defendants’ Counsel

              These persons may testify regarding all the allegations in Plaintiffs’

              complaint and amended complaints, and subsequently, pertaining to the

              arrangements made prior to and during the NFL Draft and the Detroit

              Grand Prix to pay for or reimburse private parking lots located in the

              DDA and licensed by the City of Detroit, for paving and other upgrades

              to the lots, including the lots adjacent to and servicing the Thirty Sixth

              District Court and the Frank Murphy Hall of Justice, and compliance




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               and non-compliance with the state and federal laws for accessible

               parking in those lots before and after the upgrades.


            l. JAIME JUNIOR
               c/o Plaintiffs’ Counsel

               Jaime Junior may testify regarding all the allegations in Plaintiffs’

               complaint and amended complaint. She may testify about the nature of

               her disabilities and her personal knowledge and experiences arising out

               of the defendants’ actions and inaction. She may testify regarding

               discrimination she has experienced due to her disability and

               discrimination she has observed due to others’ disability. She may also

               testify regarding various advocacy attempts by her and others to get the

               Defendants to make their premises accessible for persons with

               disabilities. She may also testify in connection with facts supporting

               class action representation and certification. She may testify regarding

               her damages including as a potential class member resulting from

               Defendants’ actions and inaction.


            m. MICHAEL HARRIS, President, Michigan Paralyzed Veterans of
               Michigan
               c/o Plaintiffs’ Counsel

               Michael Harris may testify regarding all the allegations in Plaintiffs’

               complaint and amended complaint. He may also testify regarding

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              Defendants’ past practices and patterns, including arising out of and

              related to prior disability accessibility lawsuits by his organization, and

              non-compliance by one or more of these Defendants as to federal and

              state accessibility laws, and orders or judgments or settlements entered

              against one or more of these Defendants in prior litigation by his

              organization or other organizations with which he is involved or has

              knowledge. He may testify about the nature of his disabilities and those

              of members of his and other organizations, and his personal knowledge

              and experiences and his knowledge of the experiences of members of

              his and other organizations arising out of the defendants’ actions and

              inaction. He may also testify in connection with facts supporting class

              action representation and certification. He may testify regarding his

              damages and damages of such members including as potential class

              members resulting from Defendants’ actions and inaction.


            n. ATTORNEYS JANE DOE, JOHN ROE, JUDGE SMITH, AND
               OTHERS
               c/o Plaintiffs’ Counsel

              Certain attorneys or judges with or without disabilities may testify

              regarding all the allegations in Plaintiffs’ complaint and amended

              complaints and subsequent events, and their personal knowledge and

              experiences arising out of the defendants’ actions and inaction as to

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              accessibility in the facilities described in the pleadings. They may

              testify regarding discrimination they have experienced due to disability

              and discrimination they have observed due to others’ disability. They

              may also testify in connection with facts supporting class action

              representation and certification. Those with disabilities may also testify

              regarding damages including as potential class members resulting from

              Defendants’ actions and inaction.

            o. CURRENT AND PAST STATE COURT ADMINISTRATORS,
               CURRENT         AND     PAST  REGIONAL   and      COURT
               ADMINISTRATORS           FROM   THE   STATE       COURT
               ADMINISTRATIVE OFFICE, and their representatives.
               c/o Defendants’ Counsel

              These persons may testify as to the State’s supervision or direction over

              the State’s court system, the State’s budget and financing of the State’s

              court system, and communications with and directives and orders from

              the State to the Circuit, Probate, and District Courts as to compliance

              with laws and regulations to assure physical accessibility to the court

              and its services and programs pursuant to the PWDCRA and the ADA,

              including but not limited to the ADAAG, 28 C.F.R. Parts 35 and 36,

              the Access Board Courthouse Access Advisory Committee (Designing

              Accessible Courthouses), the U.S. Courts Design Guide, and National




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               Center for State Courts Courthouse Guide to Planning and Design

               Needs of Persons with Disabilities.


            p. CURRENT OR FORMER CHIEF JUSTICE OF SUPREME
               COURT, AND CURRENT OR FORMER CHIEF JUDGES OF
               OTHER STATE OF MICHIGAN COURTS, including Circuit,
               Probate, and District Courts located in Wayne County, Livingston
               County, Washtenaw County, Detroit, and East Lansing.
               c/o Defendants’ Counsel

               These persons may testify regarding all the allegations in Plaintiffs’

               complaint and amended complaints and subsequent events, items

               specified in the immediately preceding paragraph entitled “Current and

               Past Court Administrators. . . “, and regarding Defendants’ failures to

               supply adequate funding to implement mandatory and recommended

               accessibility requirements in the judicial facilities and courts over

               which they preside.


            q. REPRESENTATIVES OF DLZ and other entities which have
               performed the February 2021 CAYMC Accessibility Compliance
               Review Report and similar reports for DWJBA, and other similar
               reports for DWJBA, City of Detroit, County of Wayne, and the
               State of Michigan including as to the State the Circuit, Probate, and
               District Courts located in Wayne County, Livingston County,
               Washtenaw County, Detroit, and East Lansing.
               c/o Defendants’ Counsel

            These persons may testify regarding all the allegations in Plaintiffs’

            complaint and amended complaints and subsequent events, and the


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            contents, data, methods, recommendations, and execution of the reports

            and recommendations of their reports, and the expertise of the persons

            conducting the reports.


            r. MARY SMITH, PAT SMITH, AND OTHERS
               c/o Plaintiffs’ Counsel

               Certain advocates with or without disabilities may testify regarding all

               the allegations in Plaintiffs’ complaint and amended complaints and

               subsequent events and their personal knowledge and experiences

               arising out of their personal advocacy or advocacy by their groups,

               including as to defendants’ actions and inaction as to accessibility in

               the facilities described in the pleadings. They may testify regarding

               discrimination they have experienced due to disability and

               discrimination they have observed due to others’ disability. They may

               also testify in connection with facts supporting class action

               representation and certification. Those with disabilities may also testify

               regarding damages including as potential class members resulting from

               Defendants’ actions and inaction.


            s. CITY OF DETROIT OFFICE OF DISABILITIES, and its director
               and assistant director, and other employees, including Christopher
               Samp
               c/o Defendants’ Counsel


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              These persons may testify regarding all the allegations in Plaintiffs’

              complaint and amended complaints and subsequent events, and

              regarding the discussions or negotiations and inspections which

              occurred in 2019, 2020, 2021 and 2022 as to the ad hoc Committee

              discussed in the complaint and amended complaint. They may testify

              regarding discrimination they have either experienced due to disability

              or observed due to others’ disability. They may testify about the history,

              alterations, and status of the Coleman A. Young Municipal Center

              (“CAYMC”), the building and accessibility codes, regulations, and best

              practices with which the Center and its owners, managers, and lessees

              must comply, including the history and status of the Defendants’

              compliance and non-compliance with the accessibility laws at issue in

              this case.


            t. DETROIT CITY CLERK, WAYNE COUNTY                               CLERK,
               SECRETARY OF STATE, and their representatives
               c/o Defendants’ Counsel

              These persons may testify regarding Defendants’ obligations and

              failure to comply with State and Federal requirements for accessible

              voting registration and voting for persons with disabilities in the City

              of Detroit including the Defendants’ polling locations in the City of

              Detroit.

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            u. STATE TREASURER, COUNTY TREASURER,                                   CITY
               TREASURER, and their representatives.
               c/o Defendants’ Counsel

               These persons may testify regarding Defendants’ receipt and

               expenditure of Federal and State of Michigan funds in this case as to

               the operations and facilities and programs and services in this case.


            v. Any witnesses who may become known through further discovery,

               whether from parties or non-parties.


            w. Any witnesses or persons named by Defendants.

            x. Any witnesses or persons needed for purposes of introducing or
               authenticating any item of evidence.

            y. Any necessary rebuttal witnesses.

            z. Expert witnesses, including those persons named above who may also
               qualify as expert witnesses, to be named in accordance with the Case
               Management and Scheduling Orders.


         Plaintiffs reserve the right to supplement this list of individuals as information

   about Plaintiffs’ claims and/or Defendants’ defenses becomes known throughout the

   course of investigation and discovery.

                                  II.    DOCUMENTS

         Pursuant to FRCP 26(a)(1)(A)(ii), Plaintiffs provide the following description

   of documents or categories of documents, electronically stored information, and

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   tangible things that Plaintiffs or their counsel have in their possession, custody or

   control and may use to support their claims or defenses unless such documents are

   covered by the attorney/client privilege, or which may be used solely for

   impeachment     Documents are in possession of Plaintiffs, or their counsel, or

   Defendants or their agents.

      1. Defendant Detroit Wayne Joint Building Authority 2021 DLZ evaluation.

      2. Other similar self-evaluations and transition plans prepared by the other

         defendants including as described in 28 CFR Part 35 subpart A 35.105 and

         35.150.

      3. Oher similar self-evaluations and transition plans of the defendants as to

         hearing accessibility services and products needed by persons who are hearing

         impaired to participate in Defendants’ public meetings, hearings and court

         proceedings.

      4. Annual budgets, expenditures, and related documents of each of the

         Defendants.

      5. Records and communications pertaining to the execution and failure to

         execute the recommendations from the above plans.

      6. Work orders, building permits, purchase orders, construction records,

         construction contracts, architectural plans and drawings, compliance

         certificates and punch lists, change orders, and warranty claims, as to


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         purchase, construction, alteration, renovation, remediation, maintenance, and

         plans for future modifications of the facilities described in the complaint.

      7. The lease, amendments, and renewals, for the CAYMC, between the

         Authority and the City of Detroit and County of Wayne, and communications

         among the parties as to lease violations including those pertaining to the

         requirements of the PWDCRA and the ADA.

      8. The deed(s), easement(s), lease(s), maintenance agreement(s), amendments,

         and renewals, for the Skywalk and the Detroit People Mover Station in the

         Millender Center and the route from that Station to the CAYMC, between the

         current and prior owner(s) of the People Mover and any of the other

         Defendants, and communications as to violations including those pertaining

         to the requirements of the state and federal accessibility laws and regulations.

      9. Publicly available census, statistical and other demographic records as to

         persons with disabilities and including attorneys and judges with disabilities.

      10.Meeting agendas, notes, photographs or videos, correspondence, and

         inspections from 2019 to the trial and pertaining to the ad hoc Committee

         conducted in 2019, 2020, 2021, and 2022.

      11.Correspondence from and with the Elder Law and Disability Rights Section

         of the State Bar of Michigan in 2019, 2020, and 2021 as to the Coleman A

         Young Municipal Center.


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      12.Defendants’ public records and announcements, including internet and

         archived internet materials, pertaining to accessibility and compliance and

         non-compliance in the facilities at issue in this case.

      13.Other correspondence, agendas, news reports, photographs or advocacy

         requests and protests by members and organizations of the disability

         community to request Defendants to comply with accessibility requirements.

      14.Photographs, videos, articles, and recordings in the Detroit Free Press, Detroit

         News, Outlier Detroit, and other media as to Plaintiffs or Defendants and

         accessibility requirements in the facilities described in this case.

      15.Court records and DOJ records of prior litigation, orders or settlements as to

         accessibility issues and one or more of the Defendants.

      16.Photographs, plans, drawings, and other descriptions of the facilities

         described in the pleadings and comparable facilities.

      17.Documentation of and in support of Plaintiffs’ items of damages or expense.

      18.Documentation of Plaintiffs’ costs, fees, and attorney fees and costs pertaining

         to this litigation.

       Plaintiffs’ description or production of these documents does not waive any

   objection Plaintiffs may have to the use of these documents. Plaintiffs’ production

   of these documents is not an admission that these documents are relevant, material,

   or admissible. Inadvertent production of privileged information by Plaintiffs shall


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   not constitute a waiver of any applicable privilege or doctrine. Plaintiffs will disclose

   additional documents as they become known, and in compliance with the Court’s

   scheduling orders.

                        III.    COMPUTATION OF DAMAGES

         Plaintiffs seek all damages allowable by law and equity for the claims

   asserted, including for violations of their civil rights, compensatory damages as

   Plaintiffs have suffered substantial harm to, among other things, Plaintiffs’

   professional experience and opportunities, and future profits and earning capacity,

   and punitive damages where allowable and indicated. Plaintiffs also seek all

   damages allowable by law and equity for and on behalf of or representative of the

   class members. At this time, Plaintiffs are unable to accurately calculate damages

   until expert economic and vocational evaluations are completed, and Plaintiffs will

   update these disclosures as appropriate when this information is available. Plaintiffs

   also seek reimbursement for all out-of-pocket expenses and services and seek

   attorney fees and costs.

                          IV.    INSURANCE AGREEMENTS

         Generally do not yet appear to be applicable to this case, except for the

   purposes of showing ownership and control of the premises at issue in this case as

   may be or may not be documented by the underwriting and insuring agreements.




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   Dated: May 28, 2024              /s/ Michael W. Bartnik
                                    By: Michael W. Bartnik (P32534)
                                    Law For Baby Boomers, PLLC
                                    Attorney for Plaintiffs
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                                    Bloomfield Hills, Michigan 48304
                                    (248) 608-3660
                                    michaelbartnik@protonmail.com



                             CERTIFICATE OF SERVICE

         I, Michael W. Bartnik, certify that on May 28, 2024, I electronically served

   the above Plaintiffs’ Initial Disclosures upon all counsel of record at their

   respective e-mail addresses of record.

   Dated: May 28, 2024              /s/ Michael W. Bartnik
                                    By: Michael W. Bartnik (P32534)




                           LOCAL RULE CERTIFICATION

         I, Michael W. Bartnik, certify that this document complies with Local Rule

   5.1(a), including: double-spaced (except for quoted materials and footnotes); at

   least one-inch margins on the top, sides, and bottom; consecutive page numbering;

   and type size of all text and footnotes that is no smaller than 10-1/2 characters per

   inch (for non-proportional fonts) or 14 point (for proportional fonts). I also certify

   that it is the appropriate length. Local Rule 7.1(d)(3).

   Dated: May 28, 2024              /s/ Michael W. Bartnik

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                                By: Michael W. Bartnik (P32534)




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